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                   UNITED STATES DISTRICT COURT
                          Northern District of Texas
                               Dallas Division

   Michael Barack and Michelle                 §
   Barack, individually and on behalf          §
   of a class                                  §
                                               §
                 Plaintiffs,                   §
                                               §       CA No: 3:22-cv-890-K
   v.                                          §
                                               §
   NP Home Buyers, LLC                         §
                                               §
                Defendant                      §



                               NOTICE OF SETTLEMENT


          Plaintiffs notify the Court that the parties have entered into a settlement

  agreement by which final payment is to be made on or before November 8, 2022.

  The first payment was made today. When the final payment is made Plaintiffs will

  file a stipulation of dismissal.

          In the event the Court desires to administratively close the case the

  Plaintiffs request that the Court retain jurisdiction to reopen the case if the final

  payment is not made.




  _______________________________________________________________________________
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                                        Respectfully submitted,

                                        By:    /s/ Chris R. Miltenberger___
                                              Chris R. Miltenberger
                                              Texas Bar Number: 14171200


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                                        Miltenberger, PLLC

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                                        Designated as Lead Attorney

                                        Attorney for Plaintiff


                              Certificate of Service

          The undersigned certifies that the foregoing document was filed
   electronically through the Court’s CM/ECF system in compliance with the
   Local Rules. Defendant has not yet appeared.

                                        By:     /s/ Chris R. Miltenberger
                                                 Chris R. Miltenberger




  _______________________________________________________________________________
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